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     Attorneys for the
6    United States of America
7

8                        IN THE UNITED STATES DISTRICT COURT

9                           EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              ) NO. 1:10-CR-00398 AWI
                                            )
12             Plaintiff,                   )
                                            ) APPLICATION AND ORDER REGARDING
13        v.                                ) FINANICAL DISCLOSURES
                                            )
14   JON JON VANCE LANKFORD,                )
       aka Jon Jon Vance McDade,            )
15                                          )
               Defendant.                   )
16                                          )
                                            )
17

18        On September 16, 2013, the Defendant herein, JON JON VANCE
19   LANKFORD, entered a guilty plea to Count Fifty (50) of the
20   Indictment, which charges him with Bank Fraud, in violation of 18
21   U.S.C. § 1344.
22        As part of his Plea Agreement with the United States, the
23   Defendant agreed to make full and complete disclosure of his assets
24   and financial condition, and to complete the United States Attorney’s
25   Office’s “Authorization to Release Information” and “Financial
26   Statement Pre-Sentencing Disclosure” (Financial Affidavit) within
27   five (5) weeks from the entry of Defendant’s change of plea (see Doc.
28

29                                            -1-
                 APPLICATION AND [PROPSED] ORDER REGARDING FINANCIAL DISCLOSURES
30
         Case 1:10-cr-00398-ADA-BAM Document 122 Filed 10/03/13 Page 2 of 4


1    #113, ¶3(l)).   The Defendant also agreed to have the Court enter an

2    order to that effect (id.).

3         Accordingly, the United States hereby applies for entry of an

4    order as follows:

5         1. The Defendant herein, JON JON VANCE LANKFORD, is hereby

6    ordered to complete and sign both the “Financial Statement Pre-

7    Sentencing Disclosure” and the “Authorization to Release

8    Information,” and provide those forms to the United States Attorney’s

9    Office, Attention FLU Unit, 2500 Tulare Street, Suite 4401, Fresno,

10   California 93721, no later than October 21, 2013.

11
     Dated:   October 2, 2013                          BENJAMIN B. WAGNER
12                                                     United States Attorney
13
                                                         /s/ Christopher D. Baker
14                                                     CHRISTOPHER D. BAKER
                                                       Assistant U.S. Attorney
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                 APPLICATION AND [PROPSED] ORDER REGARDING FINANCIAL DISCLOSURES
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                           Case 1:10-cr-00398-ADA-BAM Document 122 Filed 10/03/13 Page 3 of 4


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8                                         IN THE UNITED STATES DISTRICT COURT

9                                            EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              ) NO. 1:10-CR-00398 AWI
                                                            )
12                               Plaintiff,                 ) ORDER REGARDING FINANCIAL
                                                            ) DISCLOSURES
13                          v.                              )
                                                            )
14   JON JON VANCE LANKFORD,                                )
       aka Jon Jon Vance McDade,                            )
15                                                          )
                                 Defendant.                 )
16                                                          )
                                                            )
17

18                          The Defendant herein, JON JON VANCE LANKFORD, is hereby ordered
19   to complete and sign both the “Financial Statement Pre-Sentencing
20   Disclosure” and the “Authorization to Release Information,” and
21   provide those forms to the United States Attorney’s Office, Attention
22   FLU Unit, 2500 Tulare Street, Suite 4401, Fresno, California 93721 no
23   later than October 21, 2013.
24
     IT IS SO ORDERED.
25

26   Dated: October 2, 2013
                                                        SENIOR DISTRICT JUDGE
27
     DEAC_Signature-END:




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29                                                            -3-
                                              ORDER REGARDING FINANCIAL DISCLOSURES
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         Case 1:10-cr-00398-ADA-BAM Document 122 Filed 10/03/13 Page 4 of 4

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                            ORDER REGARDING FINANCIAL DISCLOSURES
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